    Case 3:19-cv-19323-FLW-TJB Document 33 Filed 11/29/21 Page 1 of 2 PageID: 378



                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


     FRANKLIN ARMORY, INC.,

                            Plaintiff,
                                                        Civ. Action No. 19-19323 (FLW)
          v.
                                                                     ORDER
     COL. PATRICK A. CALLAHAN,
     individually and in his capacity as
     Superintendent of New Jersey State Police;
     ATTORNEY GENERAL OF THE STATE
     OF NEW JERSEY GURBIR GREWAL,
     individually and his official capacity as
     Attorney General, DETECTIVE BRETT C.
     BLOOM; DETECTIVE J. HEARNE; LT.
     STEPHEN MAZZAGATTI; DEPUTY
     ATTORNEY GENERAL MARYBETH
     WOODS; and JOHN DOES 1- 10, fictitious
     parties,

                            Defendants.


         THIS MATTER having been opened to the Court upon a motion to dismiss by Suzanne

Davies, Esq., counsel for defendants Patrick A. Callahan, Gurbir Grewal, 1 and MaryBeth Woods

(“Defendants”), pursuant to Federal Rule of Civil Procedure 12(b)(6); it appearing that plaintiff

Franklin Armory, Inc. (“Plaintiff”), by and through its counsel Danny C. Lallis, Esq., opposes the

motion; the Court having considered the submissions of the parties pursuant to Federal Rule of Civil

Procedure 78, and for good cause shown,

         IT IS on this 29th day of November, 2021:

         ORDERED that Defendants’ Motion to Dismiss is GRANTED; and it is further


1
 Grewal is no longer the Attorney General. Accordingly, the Acting Attorney General, Andrew
Bruck, is automatically substituted. Fed. R. Civ. P. 25(d).


                                                  1
Case 3:19-cv-19323-FLW-TJB Document 33 Filed 11/29/21 Page 2 of 2 PageID: 379



       ORDERED that Plaintiff is given leave to amend its Complaint to replead Counts One and

Two with respect only to its Second Amendment claim, in accordance with the Opinion

accompanying this Order, within thirty (30) days of the date of this Order.



                                                                    /s/ Freda L. Wolfson
                                                                    Hon. Freda L. Wolfson
                                                                    U.S. Chief District Judge




                                                  2
